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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:05CR3143
                              )
          v.                  )
                              )
LISA McGINN,                  )                      ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised defendant wishes to enter a

plea.   Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Friday, November 17, 2006, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     Counsel needed additional time to

finalize the plea agreement.       Therefore, the ends of justice will

be served by continuing this case and outweigh the interests of

the public and the defendant in a speedy trial.              The additional

time between October 30, 2006, and November 17, 2006, shall be

deemed excludable time in any computation of time under the
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requirement of the Speedy Trial Act.         18 U.S.C. § 3161(h)(8)(A)

& (B).

          DATED this 7th day of November, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
